Case 4:24-cv-00033-AMA           Document 11        Filed 04/18/24       PageID.547       Page 1 of 2




Milo Steven Marsden (4879)
Maryann Bauhs (17196)
DORSEY & WHITNEY LLP
111 South Main Street, Suite 2100
Salt Lake City, UT 84111
Telephone: (801) 933-7360
Facsimile: (801) 933-7373
Email: marsden.steve@dorsey.com
       bauhs.maryann@dorsey.com

Attorneys for Defendant


                            UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF UTAH SOUTHERN REGION


 SHERRY TERESA, individually and on                     MOTION FOR PRO HAC VICE
 behalf of others similarly situated,                   ADMISSION OF MICHAEL ROWE

         Plaintiff,                                     Civil No. 4:24-CV-00033-TS-PK

 vs.                                                    Judge Ted Stewart
                                                        Magistrate Judge Paul Kohler
 MAYO FOUNDATION FOR MEDICAL
 EDUCATION AND RESEARCH,

         Defendant.


       I move for the pro hac vice admission of Michael Rowe as counsel for Defendant Mayo

Foundation for Medical Education and Research, and I consent to serve as local counsel. The

application and proposed order are attached as exhibits, and the admission fee will be paid to the

court at the time of filing. I certify that the Applicant is not a member of the Utah State Bar and

does not maintain a law office in Utah. I certify that the Applicant has been admitted pro hac

vice in one unrelated case in this district in the previous five years, Curry, et al. v. Mrs. Fields

Gifts, Inc., No. 2:22-cv-00651-JNP-DBP (D. Utah) (admitted December 21, 2023).
Case 4:24-cv-00033-AMA       Document 11       Filed 04/18/24   PageID.548   Page 2 of 2




 DATED this 18th day of April, 2024.           DORSEY & WHITNEY LLP




                                               By: /s/ Maryann Bauhs
                                                   Milo Steven Marsden
                                                   Maryann Bauhs
                                                   Attorneys for Defendant




                                           2
